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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA )
                          )
               vs.        )          PRESENTENCE INVESTIGATION REPORT
                          )
     Janeth Brewer        )                    Docket No. CR11-00762-PSG


Prepared For:             THE HONORABLE PHILIP S. GUTIERREZ
                            UNITED STATES DISTRICT JUDGE

Assistant United States Attorney     Defense Counsel
 Paul G. Stern                        Richard E. Nahigian (Retained)
 1200 United States Courthouse        Richard E. Nahigian Law Offices
 312 North Spring Street              1122 East Green Street
 Los Angeles, CA 90012                Pasadena, CA 91106
 213-894-2434                         626-683-3991




Prepared by:                         Maytee Zendejas
                                     United States Probation Officer
                                     United States Courthouse
                                     312 North Spring Street , 6th Floor
                                     Los Angeles, CA 90012-4701
                                     213-894-5597

Sentence Date:                       02/27/2012

Offense:           Count 1:          Conspiracy (18 U.S.C. §371);
                                     5 years imprisonment and/or $250,000 fine
                                     Class D Felony


 Release Status:                      Released on 09/12/2011on $10,000 unsecured
                                      appearance bond with PSA supervision
 Detainers:                           None


Date Report Disclosed: JAN 17 2012           Date Parties Notified: JAN 17 2012
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 Co-Defendants:                                        None
 Related Cases:                                        See Report

 Defendant Identifying Data:
 Date of Birth:                                        08/14/1973
 Age:                                                  38
 Race:                                                 White, Hispanic origin
 Sex:                                                  Female
 Social Security No.:                                  XXX-XX-XXXX
 FBI No.:                                              630028MD4
 Marshals No.:                                         Pending
 Other ID Nos.:                                        CII: AXXXXXXXX
                                                       ARN: 019346076
                                                       CA DL: A9675465
 Education:                                            High School Graduate and Some College
 Marital Status:                                       Single
 Dependents:                                           2 (daughters)
 Citizenship:                                          Citizen of Mexico; Permanent U.S. Resident
 Legal Address:                                        2411 Divide Way
                                                       Santa Maria, CA 93458
 Aliases:                                              Janet Brewer Salazar

Restrictions on Use and Redisclosure of Presentence Investigation Report. Disclosure of this Presentence Investigation
Report to the Federal Bureau of Prisons and redisclosure by the Bureau of Prisons is authorized by the United States
Court solely to assist administering the offender’s prison sentence (i.e., classification, designation, programming,
sentence calculation, pre-release planning, escape apprehension, prison disturbance response, sentence commutation,
or pardon) and other limited purposes, including deportation proceedings and federal investigations directly related to
terrorists activities. If this Presentence Investigation Report is redisclosed by the Federal Bureau of Prisons upon
completion of its sentence administration function, the report must be returned to the Federal Bureau of Prisons or
destroyed. It is the policy of the Federal Judiciary and the Department of Justice that further redisclosure of the
Presentence Investigation Report is prohibited without the consent of the sentencing judge.




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                   GUIDELINE SUMMARY
                   Case Name: Janeth Brewer

                   Docket No.: CR11-00762-PSG

                   Guideline Edition: November 1, 2011


BASE OFFENSE LEVEL: Guideline: 2B1.1(a)(2)                              6

SPECIFIC OFFENSE CHARACTERISTICS                                       +16

ROLE IN THE OFFENSE                                                     0

VICTIM ADJUSTMENT                                                       0

OBSTRUCTION OF JUSTICE                                                  0

ADJUSTED OFFENSE LEVEL                                    22

  MULTIPLE COUNT ADJUSTMENT                                           N/A

  CAREER OFFENDER/CRIM. LIVELIHOOD/
  ARMED CAREER CRIMINAL/REPEAT SEX OFFENDER                           N/A

  ACCEPTANCE OF RESPONSIBILITY                                         -3

TOTAL OFFENSE LEVEL                                       19

  CRIMINAL HISTORY CATEGORY                               I
SENTENCING OPTIONS:
          GUIDELINE SENTENCE     30 to 37 months
          SUPERVISED RELEASE     1 to 3 years
          FINE       $6,000 to $60,000


PSI 102
9/27/05




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PART A. THE OFFENSE
     Charge(s) and Conviction(s)
1.   On September 19, 2011, before the Honorable Philip S. Gutierrez, Janeth Brewer
     (Brewer) pleaded guilty to the Single-Count Information in which she is solely
     named.
2.   The information charges that from December 2005 through September 7, 2007,
     Brewer, and others known and unknown violated 18 U.S.C. §371 by knowingly
     conspiring to commit: (1) loan fraud, in violation of 18 U.S.C. § 1014, by making
     false statements or reports for the purpose of influencing, in connection with a loan
     application, the actions of institutions the accounts of which were then insured by the
     Federal Deposit Insurance Corporation; and (2) wire fraud, in violation of 18 U.S.C.
     § 1343, by designing, participating in, and executing a scheme to defraud lenders
     through the use of interstate wires.

3.   The information further sets forth the means by which the conspiracy was to be
     accomplished and the overt acts done in furtherance of the conspiracy.

4.   Pursuant to the written plea agreement between the Government and Brewer, the
     parties have stipulated to the following applicable Sentencing Guideline factors: a
     base offense level of six, pursuant to U.S.S.G. § 2B1.1(a)(2); and an enhancement for
     loss under U.S.S.G. § 2B1.1(b)(1)(I), based on the loss amount.
5.   The parties agree not to seek, argue, or suggest in any way, that additional specific
     offense characteristics, adjustment, and departures under the Sentencing Guidelines
     are appropriate.

6.   Brewer understands that she will be required to pay full restitution to the victims of
     the offense. Brewer agrees that the amount of restitution is not restricted to the
     amount alleged in the count to which Brewer is pleading guilty but may include losses
     arising from all relevant conduct encompassed by that charge. The parties believe that
     the applicable amount of restitution falls somewhere between $1 million and $2.5
     million, but recognize and agree that this amount could change based on facts that
     come to the attention of the parties prior to sentencing.
7.   In exchange for Brewer’s guilty plea, the Government conditionally agrees, at the
     time of sentencing, to recommend: (a) up to a three-level reduction in the offense
     level for acceptance of responsibility; and (b) that Brewer be sentenced at the low end
     of the applicable Sentencing Guidelines range provided that the total offense level as
     calculated by the Court is 19 or higher.
8.   The parties agree to a limited mutual waiver of appeal.
9.   Related Case

     CR11-00427-PSG - Imelda Sanchez: Trial scheduled on April 23, 2012.

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      Pretrial Adjustment
10.   On September 12, 2011, Brewer was summoned to appear in Court. On that same day,
      she was released on a $10,000 unsecured appearance bond with Pretrial Service
      Agency (PSA) supervision.
11.   According to the PSA, Brewer is presently in compliance with the terms and
      conditions of her release.

      The Offense Conduct
12.   Information regarding the offense was obtained from materials provided by the
      Assistant United States Attorney (AUSA) including: the investigative reports of the
      Federal Bureau of Investigation (FBI); the Indictment; and Brewer’s Plea Agreement.

      Background
13.   Capitol Mortgage Services, Inc. (CMS), a real estate mortgage company, located in
      Santa Maria, California, operated from July 2003 to at least October 2008. CMS
      provided real estate services to its clients, principally involving the preparation and
      submission of loan packages to banks or lending companies in order to enable CMS’s
      clients to purchase or refinance residential properties.
14.   From May 2004 to October 2007, Brewer was employed at CMS as a licensed loan
      officer.

15.   CMS employees obtained the assistance of co-conspirator number 1 (CC1), who was
      a members’ services officer at CoastHills Federal Credit Union (CFCU) in Santa
      Maria, California and co-conspirator number 2 (CC2), who was a tax-preparer and
      bookkeeper and operated her tax-preparation business in Santa Maria, California.

      Brewer’s Conduct
16.   From December 2005 to September 2007, Brewer prepared loan applications
      containing false information on behalf of CMS’s clients (clients) who did not have
      sufficient financial resources to qualify for a loan and submitted those loan
      applications to lenders.
17.   Brewer requested the assistance of CC1 and CC2 to fraudulently facilitate the
      successful funding of the clients’ loans:
      a.     CC1 would prepare a fraudulent Verification of Deposit (VOD) form for
             certain clients to provide false information regarding the clients’ funds on
             deposit in accounts maintained at CFCU. In exchange, CC1 would receive a
             payment from Brewer.

      b.     CC2 would falsely verify the employment of certain clients at specified
             businesses. In exchange, CC2 would receive a payment from Brewer. CC2 was

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             not a tax preparer for these clients and had no knowledge that they were
             actually employed by the specified businesses.

18.   To further carry out the scheme, Brewer listed her own personal P.O. Box address as
      the address of the fictitious business on the loan applications of the clients.

19.   Brewer caused the victim lenders $1,655,932 in actual losses resulting from her false
      loan applications. Examples illustrating Brewer’s conduct follow:
      Client No. 1

20.   In December 2005, Brewer submitted a loan application to IndyMac. She made the
      following false statements in the loan application: a client was a self-employed
      farmer; and to make it appear as though the client’s employment information was true
      Brewer used her personal P.O. Box address as the address of the client’s employer.

21.   On December 16, 2005, Brewer paid CC2 a fee to prepare a fraudulent letter verifying
      that the client was a self-employed farmer for two years.

22.   Based on the false information on the loan application, the client received two loans
      from IndyMac, $368,000 and $92,000, which the client used to purchase a residence
      located at 603 West Edwards Street, in Santa Maria, California.

23.   According to the case agent, the property was eventually foreclosed. As a result of the
      sale, IndyMac sustained a loss of $290,000.
      Client No. 2
24.   On January 3, 2006, Brewer submitted a loan application on behalf of a client to
      IndyMac Bank, a bank whose deposits were then insured by the FDIC, which falsely
      stated that the client was the self-employed owner of an agricultural harvesting
      company for three years.
25.   On February 22, 2006, Brewer paid CC2 a fee in order to prepare a fraudulent letter
      verifying that the client was a self-employed farmer operating an agricultural
      harvesting company for three years.
26.   On March 2, 2006, Brewer asked CC1 to prepare a fraudulent VOD form to falsely
      state that the client had approximately $48,500 in their bank accounts at CFCU. On
      the same date, CC1 provided Brewer a fraudulent VOD falsely stating that the client
      had $53,819 in their bank accounts at CFCU.
27.   On August 3, 2006, Brewer assured the client that Brewer would handle any problems
      arising from the use of a fraudulent verification of employment in connection with
      their loan application.
28.   Based on the false information on the loan application, the client received two loans
      from IndyMac, $750,000 and $200,000, which the client used to purchase a residence
      located at 2530 Laurie Way, in Arroyo Grande, California.

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29.   According to the case agent, the property was eventually foreclosed. As a result of the
      sale, IndyMac sustained a loss of $324,000.

      Client No. 3

30.   On July 6, 2006, Brewer asked CC1 to prepare a fraudulent VOD falsely stating that
      a client had $38,000 in her bank account at CFCU. On the same date, CC1 provided
      Brewer a fraudulent VOD falsely stating that the client had $37,434 in her bank
      account.
31.   On July 19, 2006, Brewer submitted a fraudulent VOD in support of the client’s loan
      to IndyMac Bank, falsely stating that the client had $37,434.

32.   Based on the false information on the loan application, the client received two loans
      from IndyMac, $344,000 and $43,000, which the client used to purchase a residence
      located at 422 South Ranch Street, in Santa Maria, California.

33.   According to the case agent, the property was eventually foreclosed. As a result of the
      sale, IndyMac sustained a loss of $227,000.

      Client No. 4

34.   On August 18, 2006, Brewer submitted a loan application on behalf a client to Argent
      Mortgage, located at Orange, California, falsely stating that the client had $25,000 in
      her bank account at CFCU.

35.   On September 12, 2006, Brewer asked CC1 to prepare a fraudulent VOD falsely
      stating that the client had approximately $15,000 in her bank account at CFCU. The
      next day, CC1 provided Brewer a fraudulent VOD falsely stating that the client had
      $14,987 in her bank account at CFCU.

36.   Based on the false information on the loan application, the client received a loan from
      Argent Mortgage, $593,750, which the client used to purchase a residence located at
      1646 Chadwell, in Santa Maria, California.

37.   According to the case agent, the property was eventually foreclosed. As a result of the
      sale, Argent Mortgage sustained a loss of $316,932.

      Client No. 5
38.   On November 9, 2006, Brewer asked CC1 to prepare a fraudulent VOD falsely stating
      that a client had over $8,500 in their bank account at CFCU. On the same date, CC1
      provided Brewer a fraudulent VOD falsely stating that the client had over $10,437 in
      their bank account at CFCU.
39.   On November 20, 2006, Brewer submitted a loan application on behalf of the client
      to Central Coast One Stop Mortgage Group, Inc, located in Santa Maria, California,
      falsely stating that the client had $10,437 in their bank account at CFCU.


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40.   Based on the false information on the loan application, the client received two loans
      from Central Coast One Stop Mortgage Group, $408,000, and 102,000, which the
      client used to purchase a residence located at 735 W. Rainer Way, in Santa Maria,
      California.

41.   According to the case agent, the property was eventually foreclosed. As a result of the
      sale, Central Coast One Stop Mortgage Group sustained a loss of $255,000.

      Victim Impact
42.   According to the case agent, due to loans that Brewer prepared fraudulently the
      following California properties have eventually foreclosed. As a result of the sale, the
      following lenders sustained an actual loss:
      Lender1                      Loss Amt.      Property Address

      Alliance Bancorp2            $ 243,000      436 E. Taylor, Santa Maria
      Federal Home Loan            $ 255,000      735 W. Rainer Way, Santa Maria
          Mortgage Corp.
      FDIC or One West Bank        $   227,000    422 South Ranch Street, Santa Maria
      JPMorgan Chase               $   316,932    1646 Chadwell, Santa Maria
      FDIC or One West Bank        $   324,000    2530 Laurie Way, Arroyo Grande
      FDIC or One West Bank        $   290,000    603 West Edwards Street, Santa Maria
      Total Actual Loss            $1,655,932

      Adjustment for Obstruction of Justice
43.   The Probation Officer has no information suggesting that the defendant impeded or
      obstructed justice.

      Adjustment for Acceptance of Responsibility
44.   On January 5, 2012, in the presence of counsel the Probation Officer interviewed
      Brewer at the United States Probation Office in Los Angeles, California. On the
      advice of counsel, Brewer did not discuss the instant offense but indicated that she is
      in agreement with the factual basis in the plea agreement.




      1
       According to the case agent the following lenders have been taken over: Central
Coast One Stop Mortgage Group was taken over by Federal Home loan Mortgage
Corporation; Argent Mortgage was taken over by JPMorgan Chase; and IndyMac was
taken over by FDIC; however, FDIC is splitting the loss with One West Bank.
      2
       According to the case agent, Alliance Bancorp went bankrupt and the sale of this
bank was handled by trustee California Reconveyance Corp., which would need to go
through a legal process to identify the victim.

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      Offense Level Computation
45.   In United States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005), the Supreme Court
      determined that the district courts, “while not bound to apply the Guidelines, must
      consult those Guidelines and take them into account when sentencing.” Accordingly,
      the Probation Officer calculated the advisory sentencing range using the Guidelines
      Manual in effect on November 1, 2011.

46.   In determining the offense level, the Probation Officer is instructed by the Relevant
      Conduct Guideline at U.S.S.G. § 1B1.3(a), and the commentary at Application Note
      2. This guideline and commentary hold the defendant accountable for his own
      behavior, as well as the actions of others committed in furtherance of the jointly
      undertaken criminal activity, with the exception of the conduct of others that was not
      reasonably foreseeable to the defendant.
47.   Base Offense Level: The guideline for a violation of 18 U.S.C. §371: Conspiracy, is
      U.S.S.G. § 2X1.1, which directs that the base offense level be determined by the base
      offense level from the guideline for the underlying offense. In this case, the guideline
      for the underlying offense of conspiracy to commit loan fraud and wire fraud is
      U.S.S.G. § 2B1.1. Pursuant to U.S.S.G. § 2B1.1(a)(2), the base offense level is 6. 6
48.   Specific Offense Characteristics: Pursuant to U.S.S.G. § 2B1.1(b)(1), if loss exceeds
      $5,000, the offense level is increased by the amount of loss.

49.   Pursuant to Application Note 3(A), loss is the greater of actual loss or intended loss.
      Further, pursuant to Application Note 3(C), the court need only make a reasonable
      estimate of the loss. According to the case agent, Brewer’s conduct caused actual
      losses totaling $1,655,932. Furthermore, in the plea agreement, Brewer agreed that
      the “applicable restitution falls somewhere between $1 million and $2.5 million.”
      Accordingly, pursuant to U.S.S.G. § 2B1.1(b)(1)(I) imposes a 16-level increase if the
      loss is more than $1,000,000 and not more than $2,500,000, a 16-level increase is
      applied.                                                                           +16

50.   Victim-Related Adjustments: None.                                                     0
51.   Adjustment for Role in the Offense: U.S.S.G. §§ 3B1.1 and 3B1.2 provide for
      adjustments based on a defendant's aggravating or mitigating role. U.S.S.G. § 3B1.1
      provides an increase if the defendant was an organizer, leader, manager, or supervisor
      of a criminal activity. U.S.S.G. § 3B1.2 provides for a role reduction to a defendant
      who plays a part in committing the offense that makes him substantially less culpable
      than the average participant. Based upon the evidence provided by the Government,
      Brewer was an average participant. As such, neither a role increase or reduction is
      warranted.                                                                           0

52.   Adjustment for Obstruction of Justice: None.                                          0

53.   Adjusted Offense Level: 22.                                                          22



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54.   Adjustment for Acceptance of Responsibility: The defendant has pleaded guilty and
      has stipulated to the factual basis in the Plea Agreement. Therefore, a two-level
      reduction for acceptance of responsibility has been applied pursuant to U.S.S.G. §
      3E1.1(a). The additional one-level reduction applies, pursuant to U.S.S.G. § 3E1.1(b),
      upon motion of the Government stating that defendant timely notified authorities of
      his intention to enter a guilty plea, and provided the adjusted offense level prior to
      operation of subsection (a), is level 16 or greater.                                -3

55.   Total Offense Level: 19.                                                           19

56.   Chapter Four Enhancements: None.                                                    0

57.   Total Offense Level: 19.                                                           19

      Offense Behavior Not Part of Relevant Conduct
58.   None.

PART B. THE DEFENDANT'S CRIMINAL HISTORY
59.   Pursuant to United States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005), the Court
      should consider the following criminal history category calculation to be advisory.

60.   A criminal record inquiry was conducted through the Justice Data Interface Controller
      System (JDIC) which accesses several databases on the county, state and national
      level. Arrest records and court records were requested or obtained from the following
      additional sources: the Chula Vista Municipal Court, and the Chula Vista Police
      Department.

      Criminal Convictions

      Date Arrest/         Charge/Agency          Date Sentence          Guideline
      Referred                                    Imposed/Disp.           Score
61.   06-27-92             484/488 PC:            07-30-92: 2 yrs.       4A1.2 (e) (3)
                           Petty theft, misd.     prob.
                           (Ct. 2); Chula
                           Vista Muni. Crt.;
                           Case No. S70777                                                0
62.   The court records and police report were destroyed. Count 1, charging burglary, was
      dismissed. No further information is available.

      Criminal History Computation
63.   Brewer has no criminal history points.                                              0

64.   According to the Sentencing Table (Chapter 5, Part A), zero to one criminal history
      point establishes a criminal history category of I.

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      Other Criminal Conduct
65.   None.

      Pending Charges
66.   None.

      Other Arrests
67.   None.

PART C. OFFENDER CHARACTERISTICS
68.   The Bureau of Immigration and Customs Enforcement (ICE) has verified that Brewer
      is residing legally within the United States as a permanent resident. Her Alien
      Registration number (ARN) is 019346076. According to ICE, “if this person has been
      convicted for a felony offense, this person may be amenable to removal proceedings
      for violations of the Immigration Act.”

69.   The following information was obtained from Brewer during a presentence interview
      conducted on January 5, 2012. The information was verified by her aunt, Imelda
      Sanchez, who can be reached at (619) 470-1217.

      Personal and Family Data
70.   Brewer was born on August 14, 1973, in Tepic, Nayarit, Mexico. (Verified by birth
      certificate.)
71.   Brewer’ parents are Raul Brewer and Ana Brewer Salazar. Her father passed away of
      a heart attack when she was either 3 or 4 years old. Her mother who is 67 years old,
      is a homemaker. Brewer indicated that throughout the year, her mother travels and
      spends time with family in San Diego and Mexico. However, she also resides with
      Brewer for long periods of time.

72.   Brewer has the following siblings who share the Brewer surname, and reside in
      Nayarit, Mexico: Mariana, age 43, who is an English teacher; Angelica, age 42, who
      is a homemaker; and Raul, age 40, who owns an auto parts store.
73.   In 1973, Brewer was brought to the United States and became a permanent resident.
      She grew up in Chula Vista, California, with her aunts: Irma and Graciela Brewer.
      She explained that her mother constantly traveled back and forth from Mexico to
      Chula Vista since her mother had her business in Mexico and her children in Chula
      Vista. She indicated that at times she felt “lonely” because her mother was not with
      her all the time.
74.   Brewer has resided in the following California cities: Los Angeles, San Luis Obispo,
      Arroyo Grande, and Santa Maria.


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75.   Brewer has no marital history. However for approximately 12 years, she lived with
      Jose Ortiz, who is the father of her two daughters Vanessa, age 13, and Noemi Ortiz,
      age 9. She broke up with her boyfriend because he was aggressive towards her. After
      he drank alcohol, he would slap, push and spit at Brewer.

76.   Brewer recalled that her boyfriend’s personality changed after his mother died in a
      1996 vehicle accident. Brewer explained that she and her daughters were with her
      boyfriend and his mother driving in Mexico when they suffered the fatal car accident.
      Brewer suffered a pelvis fracture and multiple wounds on her back.
77.   In 2008, Brewer left her boyfriend and she has full custody of her two daughters. She
      currently resides at 2411 Divide Way in Santa Maria, California, with her daughters
      and sometimes her mother.
78.   Brewer also has the following family members residing with her: her nephew Omar
      Gudea, age 19, who is a pastry chef; and her three nieces who are students, Alejandra
      Brewer, age 17, Carolina Rodriguez, age 16, and Samantha Brewer, age 14.
79.   If Brewer is incarcerated for the instant offense, she would like her mother to take
      care of her daughters.

      Home Visit
80.   On October 7, 2011, Pretrial Service conducted a home visit of Brewer’s residence
      and observed the following: Brewer resides in a four-bedroom, and two and a half-
      bathroom, one story house, which is located in a middle class neighborhood. Her rent
      is $1,550 per month. The residence was neat and clean and the furniture was
      appropriate for the residence. There is an unattached garage which has one bedroom
      and a half bathroom. Her nephew resides in the garage. Brewer has a dog.

      Physical Condition
81.   Brewer is 5'2" tall, weighs 155 pounds, and has brown hair and brown eyes. She
      reported no tattoos.

82.   Brewer reported multiple scars on her back due to the vehicle accident in 1996 and
      a scar on her abdomen due to a tummy tuck in 2002.

      Mental and Emotional Health
83.   During the interview with the Probation Officer, the defendant displayed no obvious
      signs of psychological dysfunction.
84.   In approximately 2008, Brewer and her daughters met with a church counselor for two
      years after she separated from her boyfriend. She indicated that she and her daughters
      are doing better and do not need further help.




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      Substance Abuse
85.   Brewer indicated she has no history of alcohol or drug abuse.

      Education and Vocational Skills
86.   In 1992, Brewer graduated from Hilltop High School, in Chula Vista. (Verified by
      diploma.)
87.   In 1992, Brewer attended Southwestern College, in Chula Vista. (Verification
      requested and pending.)
88.   In 1996, Brewer attended Cuesta College, in San Luis Obispo. (Verification requested
      and pending.)
89.   In 2002, Brewer obtained her real estate license. It is due to expire in March 2013.
      (Verified by license.)
90.   In 2011, Brewer attended Allan Hancock College, in Santa Maria. (Verification
      requested and pending.)

91.   Brewer indicated that she is currently not attending school because she is extremely
      busy with work, and taking care of her daughters, nieces and nephew. However, she
      would like to be an accountant.

      Employment
92.   From 2004 to 2008, Brewer was employed at Capital Mortgage Services in Santa
      Maria, as a loan officer. The instant offense arose from this employment.
93.   From 2008 to 2010, Brewer was employed at New Alliance Realty in Santa Maria, as
      a realtor, earning an average monthly salary of $1,700. Her earnings was based solely
      on commission. She left this employment to go to Hacienda Realty. (Verified by the
      1099 form.)

94.   From 2010 to present, Brewer is employed at Hacienda Realty in Santa Maria, as a
      realtor, earning an average monthly salary of $1,000. Her earnings is solely on
      commission. (Verified by pay stubs.)
95.   From August 2011, Brewer is employed at Community Health Centers in Santa Maria,
      as a receptionist, earning $1,896 per month. She works full-time, Monday through
      Friday, 8:00 a.m. to 5:00 p.m., and sometimes on Saturdays. (Verified by pay stubs.)

      Military Service
96.   None.




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       Financial Condition: Ability to Pay
97.    The following information was obtained from the Personal Financial Statement (PFS),
       signed by the defendant; and a search of public records, via Lexis.

98.    Brewer has been supplied with General Order 03-01, which mandates certain financial
       disclosures to the Probation Officer. She has complied with the provisions of this
       Order.

       Assets:

              Cash                                $    90
              Unencumbered Assets                 $     0
              Equity in Other Assets              $     0
              Total Assets:                       $    90

       Unsecured Debts:                           $     0

       Net Worth:                                 $    90

       Monthly Cash Flow:

              Income                              $ 3,7263
              Necessary Living Expenses           $ 3,375

              Net Monthly Cash Flow:              $   351

                           Assessment of Financial Condition
99.    Brewer’s cash assets consists of an individual Chase checking account with a balance
       of $90.00.

100.   In 2008, Brewer purchased a 2005 Toyota Camry. However, the vehicle is under her
       ex-boyfriend’s sister’s name, Angelica Ortiz. (Verified by the vehicle registration.)
       Brewer has been making the monthly payments of $274. She indicated that she should
       be done paying in approximately 2013. Since the vehicle is not under Brewer’s name,
       this was not listed as an unencumbered asset.

101.   Brewer indicated that she is in the process of filing for bankruptcy.

       3
        The income consists of her salary as a receptionist ($1,734), her real estate
commission ($1,500), child support ($42), and her nephew’s payment for food and rent
($450). Brewer also receives $900 from two of her nieces Angelica and Samatha for food
and rent. This amount was not included in the income because currently her nieces are in
Mexico vacationing and Brewer is not receiving this income. They are expected back in
Mid-January 2012.

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102.   The above cash flow analysis does not include gym membership and entertainment
       expenses reported by Brewer, as they are not considered necessary according to the
       Administrative Office of the United States Courts. See Monograph 114: Criminal
       Monetary Penalties: Chapter IV, Page 15.

103.   Brewer provided copies of her income tax returns:
       a.     For the 2008 tax year, she filed an individual tax return and her adjusted gross
              income (AGI) was $14,127.
       b.     For the 2009 tax year, she filed an individual tax return and her AGI was
              $13,541.

       c.     For the 2010 tax year, she filed an individual tax return and her AGI was
              $15,513.

                               Assessment of Ability to Pay
104.   Based on the Brewer limited assets, it does not appear that he has the ability to pay an
       immediate fine in addition to making restitution payments.

105.   Immediate Payment: None.
106.   Payment Schedule: Restitution shall be due during the period of imprisonment, at the
       rate of not less than $25 per quarter, and pursuant to the Bureau of Prison’s Inmate
       Financial Responsibility Program. If any amount of restitution remains unpaid after
       release from custody, monthly installments of at least 10 percent of Brewer’s gross
       monthly income, but not less than $300.00, whichever is greater, shall be made during
       the period of supervised release, and shall begin 30 days after commencement of
       supervision.


PART D. SENTENCING OPTIONS
107.   Pursuant to United States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005), the Court
       should consider the following guideline provisions to be advisory.
108.   The guideline sentencing range, as determined by the Probation Officer, results in the
       various sentencing options described below, which could include the following
       options, unless otherwise prohibited by law: (1) straight probation; (2) straight
       imprisonment; (3) a probationary sentence that includes community confinement or
       home detention as a condition; or (4) a sentence of imprisonment followed by a term
       of supervised release that includes community confinement or home detention as a
       condition.




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       CUSTODY
109.   Guideline Provisions:              TOTAL OFFENSE LEVEL: 19
                                          CRIMINAL HISTORY CATEGORY: I
                                          SENTENCING RANGE: 30 to 37 Months
110.   Statutory Provisions:              5 years maximum per count; 18 U.S.C. § 371;
                                          (Count 1), Class D Felony.

       IMPACT OF PLEA AGREEMENT
111.   None.

       SUPERVISED RELEASE
112.   Guideline Provisions:              Required if imprisonment is over one year or if
                                          statute mandates. U.S.S.G. § 5D1.1(a).
                                          1 year minimum, 3 years maximum (Count 1).
                                          U.S.S.G. § 5D1.2(a)(2).

113.   When imposing a sentence of imprisonment, the Court can also include, as a condition
       of supervised release, a condition requiring confinement at a community corrections
       center, participation in a home confinement program, or a combination of both. In
       assessing the propriety and duration of community confinement and/or home
       detention, the Court should also consider the sentencing factors enumerated at 18
       U.S.C. § 3553(a). Advisory input regarding the use of these options can be found at
       U.S.S.G. §§ 5C1.1, 5F1.1 and 5F1.2.
114.   Statutory Provisions:              3 years maximum (Count 1), 18 U.S.C. §
                                          3583(b)(2).

       PROBATION
115.   Guideline Provisions:              Not provided for under Zone D of the Sentencing
                                          Table, U.S.S.G. § 5B1.1, Application Note 2.
116.   Unless probation is precluded by statute, the Court can include, as part of a sentence
       of probation, a condition requiring confinement at a community corrections center,
       participation in a home confinement program, or a combination of both. In assessing
       the propriety and duration of community confinement and/or home detention, the
       Court should consider the sentencing factors enumerated at 18 U.S.C. § 3553(a).
       Advisory input regarding the use of these options can be found at U.S.S.G. §§ 5B1.1,
       5F1.1 and 5F1.2.
117.   Statutory Provisions:              1 year minimum, 5 years maximum (Count 1), 18
                                          U.S.C. § 3561(c)(1).



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       FINES
118.   Guideline Provisions:               Application of U.S.S.G. § 5E1.2 results in a fine
                                           range of $6,000 to $60,000.

119.   United States Sentencing Guideline Section 5E1.2(a) and (e) advise that the Court
       impose a fine in all cases, except where the defendant establishes that he is unable to
       pay and is not likely to become able to pay, or that a fine would unduly burden his
       dependents.
120.   Statutory Provisions                $250,000 maximum per count; 18 U.S.C. §
                                           3571(b)(3); Count 1.

                                           $100 mandatory special assessment. 18 U.S.C. §
                                           3013.

121.   Pursuant to 18 U.S.C. § 3572(d), the order for a fine must establish the manner in
       which and the schedule according to which the fine is to be paid. The interest due on
       fines is addressed at 18 U.S.C. § 3612(f).

122.   Pursuant to 18 U.S.C. § 3572(a)(6) and U.S.S.G. § 5E1.2(d)(7) among the factors the
       court shall consider in determining the amount of a fine are the expected costs to the
       government of any term of imprisonment, supervised release, or probation. During
       fiscal year 2010 the monthly per capita costs were $2,357.01 for prison facilities,
       $2,153.22 for community corrections confinement, and $328.20 for supervision.

       RESTITUTION
123.   Guideline Provisions: Restitution is addressed by the provisions of U.S.S.G. § 5E1.1.
124.   Statutory Provisions: Restitution is applicable pursuant to 18 U.S.C. § 3663A(a)(3),
       which is part of the April 24, 1996 amendment to the Victim/Witness Protection Act.

125.   Pursuant to 18 U.S.C. § 3664(f)(2) and 18 U.S.C. § 3572(d), the order for restitution
       must establish the manner in which and the schedule according to which restitution
       is to be paid. A restitution order may direct nominal payments pursuant to the
       provisions of 18 U.S.C. § 3664(f)(3)(B). A payment schedule may be adjusted due to
       a material change in the defendant's economic circumstances pursuant to 18 U.S.C.
       § 3664(k). The interest due on restitution is addressed at 18 U.S.C. § 3612(f).




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126.   Restitution is applicable as follows:
       Victim                                        Amount
       Alliance Bancorp4                            $ 243,000
       Federal Home Loan Mortgage Corp.             $ 255,000
       FDIC or One West Bank                        $ 841,000
       JPMorgan Chase                               $ 316,932

                            Total                   $1,655,932

PART E. FACTORS THAT MAY WARRANT DEPARTURE
127.   The Probation Officer has not identified any factors that would warrant a
       recommendation for a departure from the advisory guideline range.


PART F. FACTORS THAT MAY WARRANT A SENTENCE OUTSIDE THE
        ADVISORY GUIDELINES SYSTEM
128.   The Probation Officer has not identified any factors that would warrant a
       recommendation for a variance outside the advisory guideline range.

                                                    Respectfully submitted,
                                                    MICHELLE A. CAREY
                                                    Chief U. S. Probation Officer


                                                    MAYTEE ZENDEJAS
                                                    U. S. Probation Officer
                                                    213-894-5597

Reviewed and Approved:


STEVEN YUNG
Supervisor
213-894-3460
MZ:mz
1/4/2012
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       4
       According to the case agent, Alliance Bancorp went bankrupt and the sale of this
property was handled by trustee California Reconveyance Corp., which would need to go
through a legal process to identify the victim.

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